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                   UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF COLORADO

 In re:

 DNC and TCPA LIST                       Case No. 24-12624-KHT
 SANITIZER, LLC
 Debtor.                                 Chapter 11
                                         ________________________________________
 DNC and TCPA LIST
 SANITIZER, LLC and                      Adversary Proceeding No. 25-01124
 MICHAEL O’HARE,
 Plaintiffs,

 v.

 ADAM YOUNG, an individual;
 And RINGBA, LLC, a Delaware
 limited liability company,
 Defendants.
                            ENTRY OF APPEARANCE



PLEASE TAKE NOTICE that Benjamin J. Woodruff of Allen Vellone Wolf
Helfrich & Factor P.C. enters his appearance as counsel for Plaintiff, Michael
O’Hare, and requests, under Rules 2002, 9007, 9010 of the Federal Rules of
Bankruptcy Procedure, and 11 U.S.C. §§ 102(1), 342 and 1109(b), that all notices
required to be given in this case and all papers served or required to be served in
this case, be given to and served upon the following:

                           Benjamin J. Woodruff, Esq.
                    Allen Vellone Wolf Helfrich & Factor P.C.
              1600 Stout Street, Suite 1900, Denver, Colorado 80202
            Phone Number: (303) 534-4499 | Facsimile: (303) 893-8332
                          bwoodruff@allen-vellone.com

       PLEASE TAKE FURTHER NOTICE that under Section 1109(b) of the
Bankruptcy Code, the foregoing request includes the notices and papers referred to
in the Bankruptcy Rules specified above, and also includes, without limitation,
orders and notices of any application, motion, petition, pleading, request, schedules
of assets and liabilities, complaint or demand, plan or disclosure statement,
whether formal or informal, whether written or oral, and whether transmitted or
conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed,


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manually or electronically, concerning the above-captioned cases or proceedings
therein.


      Dated: April 17, 2025.

                                   Respectfully submitted,

                                   Allen Vellone Wolf Helfrich & Factor P.C.


                                   /s/Benjamin J. Woodruff
                                   Benjamin J. Woodruff, #58456
                                   1600 Stout Street, Suite 1900
                                   Denver, Colorado 80202
                                   Tel.: (303) 534-4499
                                   bwoodruff@allen-vellone.com

                                   Attorneys for Michael O’Hare




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                          CERTIFICATE OF SERVICE


The undersigned certifies that on this 15th day of April, 2025, I served the foregoing
upon all counsel of record by filing with the Bankruptcy Court via CM/ECF.

                                              s/Lisa A. Vos
                                              Lisa A. Vos




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